                     Case 10-31857                              Doc 1              Filed 07/19/10 Entered 07/19/10 01:15:54                                                              Desc Main
Official Form 1 (04/10)                                                              Document     Page 1 of 34
                                                            United States Bankruptcy Court                                                                                                Voluntary Petition
                                                        NORTHERN DISTRICT OF ILLINOIS
 Name of Debtor          (if individual, enter Last, First, Middle):                                               Name of Joint Debtor             (Spouse)(Last, First, Middle):


 Hightower, George Kendall
 All Other Names used by the Debtor in the last 8 years                                                            All Other Names used by the Joint Debtor in the last 8 years
 (include married, maiden, and trade names):                                                                       (include married, maiden, and trade names):
 NONE


 Last four digits of Soc. Sec. or Indvidual-Taxpayer I.D. (ITIN) Complete EIN                                      Last four digits of Soc. Sec. or Indvidual-Taxpayer I.D. (ITIN) Complete EIN
 (if more than one, state all):   4164                                                                             (if more than one, state all):
 Street Address of Debtor           (No. and Street, City, and State):                                             Street Address of Joint Debtor             (No. and Street, City, and State):
 11443 South Lowe
 Chicago IL
                                                                                           ZIPCODE                                                                                                          ZIPCODE
                                                                                           60628
 County of Residence or of the                                                                                     County of Residence or of the
 Principal Place of Business:                    Cook                                                              Principal Place of Business:
 Mailing Address of Debtor (if different from street address):                                                     Mailing Address of Joint Debtor               (if different from street address):

 SAME
                                                                                           ZIPCODE                                                                                                          ZIPCODE


 Location of Principal Assets of Business Debtor                                                                                                                                                             ZIPCODE
 (if different from street address above): NOT APPLICABLE


 Type of Debtor (Form of organization)
                                                                          Nature of Business                                               Chapter of Bankruptcy Code Under Which
                                                                               (Check one box.)                                            the Petition is Filed (Check one box)
               (Check one box.)
                                                                       Health Care Business                                 Chapter 7                                          Chapter 15 Petition for Recognition
     Individual (includes Joint Debtors)
                                                                       Single Asset Real Estate as defined                  Chapter 9                                           of a Foreign Main Proceeding
     See Exhibit D on page 2 of this form.
                                                                       in 11 U.S.C. § 101 (51B)                             Chapter 11
     Corporation (includes LLC and LLP)                                                                                     Chapter 12                                         Chapter 15 Petition for Recognition
                                                                       Railroad                                                                                                of a Foreign Nonmain Proceeding
     Partnership                                                                                                            Chapter 13
                                                                       Stockbroker
     Other (if debtor is not one of the above                                                                                           Nature of Debts (Check one box)
                                                                       Commodity Broker
     entities, check this box and state type of
                                                                                                                          Debts are primarily consumer debts, defined                                  Debts are primarily
     entity below                                                      Clearing Bank
                                                                                                                          in 11 U.S.C. § 101(8) as "incurred by an                                     business debts.
                                                                       Other                                              individual primarily for a personal, family,
                                                                                                                          or household purpose"
                                                                         Tax-Exempt Entity
                                                                           (Check box, if applicable.)                                               Chapter 11 Debtors:
                                                                       Debtor is a tax-exempt organization         Check one box:
                                                                       under Title 26 of the United States             Debtor is a small business as defined in 11 U.S.C. § 101(51D).
                                                                       Code (the Internal Revenue Code).               Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).

                                  Filing Fee (Check one box)                                                       Check if:
     Full Filing Fee attached                                                                                         Debtor’s aggregate noncontingent liquidated debts (excluding debts
                                                                                                                      owed to insiders or affiliates) are less than $2,343,300 (amount
    Filing Fee to be paid in installments (applicable to individuals only). Must                                      subject to adjustment on 4/01/13 and every three years thereafter).
    attach signed application for the court’s consideration certifying that the debtor                             -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- --
    is unable to pay fee except in installments. Rule 1006(b). See Official Form 3A.                               Check all applicable boxes:
                                                                                                                        A plan is being filed with this petition
    Filing Fee waiver requested (applicable to chapter 7 individuals only). Must
    attach signed application for the court's consideration. See Offi cial Form 3B.                                    Acceptances of the plan were solicited prepetition from one or more
                                                                                                                       classes of creditors, in accordance with 11 U.S.C. § 1126(b).
 Statistical/Administrative Information                                                                                                                                               THIS SPACE IS FOR COURT USE ONLY

        Debtor estimates that funds will be available for distribution to unsecured creditors.
        Debtor estimates that, after any exempt property is excluded and administrative expenses paid, there will be no funds available for
        distribution to unsecured creditors.
 Estimated Number of Creditors

 1-49               50-99             100-199            200-999          1,000-         5,001-          10,001-           25,001-           50,001-            Over
                                                                          5,000          10,000          25,000            50,000            100,000            100,000
 Estimated Assets
  $0 to             $50,001 to        $100,001 to        $500,001         $1,000,001     $10,000,001     $50,000,001       $100,000,001      $500,000,001       More than
  $50,000           $100,000          $500,000           to $1            to $10         to $50          to $100           to $500           to $1 billion      $1 billion
                                                         million          million        million         million           million
 Estimated Liabilities
  $0 to             $50,001 to        $100,001 to        $500,001         $1,000,001     $10,000,001     $50,000,001       $100,000,001      $500,000,001       More than
  $50,000           $100,000          $500,000           to $1            to $10         to $50          to $100           to $500           to $1 billion      $1 billion
                                                         million          million        million         million           million
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Official Form 1 (04/10)                                             Document     Page 2 of 34                                                                         FORM B1, Page   2
 Voluntary Petition                                                                          Name of Debtor(s):
 (This page must be completed and filed in every case)
                                                                                             George Kendall Hightower
                                    All Prior Bankruptcy Cases Filed Within Last 8 Years                 (If more than two, attach additional sheet)
 Location Where Filed:                                                               Case Number:                                                 Date Filed:
 NONE
 Location Where Filed:                                                               Case Number:                                                 Date Filed:


                   Pending Bankruptcy Case Filed by any Spouse, Partner or Affiliate of this Debtor                       (If more than one, attach additional sheet)
 Name of Debtor:                                                                      Case Number:                                                Date Filed:
 NONE
 District:                                                                            Relationship:                                               Judge:


                                   Exhibit A                                                                                             Exhibit B
   (To be completed if debtor is required to file periodic reports                                                      (To be completed if debtor is an individual
   (e.g., forms 10K and 10Q) with the Securities and Exchange                                                           whose debts are primarily consumer debts)
   Commission pursuant to Section 13 or 15(d) of the Securities                        I, the attorney for the petitioner named in the foregoing petition, declare that I
   Exchange Act of 1934 and is requesting relief under Chapter 11)                     have informed the petitioner that [he or she] may proceed under chapter 7, 11, 12
                                                                                       or 13 of title 11, United States Code, and have explained the relief available under
                                                                                       each such chapter. I further certify that I have delivered to the debtor the notice
                                                                                       required by 11 U.S.C. §342(b).
       Exhibit A is attached and made a part of this petition                          X     /s/ Joseph J. Cardinal                                                         7/13/2010
                                                                                              Signature of Attorney for Debtor(s)                                             Date


                                                                                        Exhibit C

 Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health
 or safety?
         Yes, and exhibit C is attached and made a part of this petition.
         No

                                                                                    Exhibit D
 (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)

           Exhibit D completed and signed by the debtor is attached and made part of this petition.
 If this is a joint petition:
         Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.

                                                                    Information Regarding the Debtor - Venue
                                                                          (Check any applicable box)

     Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
     preceding the date of this petition or for a longer part of such 180 days than in any other District.
     There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.
     Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in this District, or has no
     principal place of business or assets in the United States but is a defendant in an action proceeding [in a federal or state court] in this District, or
     the interests of the parties will be served in regard to the relief sought in this District.

                                               Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                                   (Check all applicable boxes.)
             Landlord has a judgment against the debtor for possession of debtor's residence. (If box checked, complete the following.)



                                                                                               (Name of landlord that obtained judgment)


                                                                                               (Address of landlord)

             Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure the
             entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and

             Debtor has included with this petition the deposit with the court of any rent that would become due during the 30-day
             period after the filing of the petition.

             Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(l)).
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Official Form 1 (04/10)                                            Document     Page 3 of 34                                                         FORM B1, Page   3
 Voluntary Petition                                                                 Name of Debtor(s):
   (This page must be completed and filed in every case)
                                                                                     George Kendall Hightower
                                                                             Signatures
                    Signature(s) of Debtor(s) (Individual/Joint)                                    Signature of a Foreign Representative
I declare under penalty of perjury that the information provided in this
petition is true and correct.                                                    I declare under penalty of perjury that the information provided in this
[If petitioner is an individual whose debts are primarily consumer debts         petition is true and correct, that I am the foreign representative of a debtor
and has chosen to file under chapter 7] I am aware that I may proceed            in a foreign proceeding, and that I am authorized to file this petition.
under chapter 7, 11, 12, or 13 of title 11, United States Code,
understand the relief available under each such chapter, and choose to           (Check only one box.)
proceed under chapter 7.
                                                                                      I request relief in accordance with chapter 15 of title 11, United States
[If no attorney represents me and no bankruptcy petition preparer
                                                                                      Code. Certified copies of the documents required by 11 U.S.C. § 1515
signs the petition] I have obtained and read the notice required by
                                                                                      are attached.
11 U.S.C. §342(b)
                                                                                      Pursuant to 11 U.S.C. § 1511, I request relief in accordance with the
I request relief in accordance with the chapter of title 11, United States            chapter of title 11 specified in this petition. A certified copy of the
Code, specified in this petition.                                                     order granting recognition of the foreign main proceeding is attached.
 X /s/ George Kendall Hightower
     Signature of Debtor                                                         X
                                                                                      (Signature of Foreign Representative)
 X
     Signature of Joint Debtor

                                                                                      (Printed name of Foreign Representative)
     Telephone Number (if not represented by attorney)
                                                                                       7/13/2010
       7/13/2010                                                                      (Date)
     Date

                                  Signature of Attorney*
                                                                                               Signature of Non-Attorney Bankruptcy Petition Preparer
 X /s/ Joseph J. Cardinal                                                       I declare under penalty of perjury that: (1) I am a bankruptcy petition
     Signature of Attorney for Debtor(s)                                        preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
                                                                                compensation and have provided the debtor with a copy of this document
     Joseph J. Cardinal 3126014
     Printed Name of Attorney for Debtor(s)
                                                                                and the notices and information required under 11 U.S.C. §§ 110(b), 110
                                                                                (h), and 342(b); and, (3) if rules or guidelines have been promulgated
     Joseph J Cardinal                                                          pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services
     Firm Name                                                                  bankruptcy petition preparers, I have given the debtor notice of the
                                                                                maximum amount before preparing any document for filing for a debtor
     3960 W 95th Street                                                         or accepting any fee from the debtor, as required in that section. Official
     Address                                                                    Form 19 is attached.
     Floor 2
     Evergreen Park IL                         60805
                                                                                 Printed Name and title, if any, of Bankruptcy Petition Preparer
     708-423-3838
     Telephone Number
                                                                                 Social-Security number (If the bankruptcy petition preparer is not an
       7/13/2010                                                                 individual, state the Social-Security number of the officer, principal,
     Date                                                                        responsible person or partner of the bankruptcy petition preparer.)
                                                                                 (Required by 11 U.S.C. § 110.)
 *In a case in which § 707(b)(4)(D) applies, this signature also
 constitutes a certification that the attorney has no knowledge
 after an inquiry that the information in the schedules is incorrect.            Address

                    Signature of Debtor (Corporation/Partnership)
                                                                                X
I declare under penalty of perjury that the information provided
in this petition is true and correct, and that I have been
authorized to file this petition on behalf of the debtor.                           Date
                                                                                 Signature of bankruptcy petition preparer or officer, principal,
The debtor requests the relief in accordance with the chapter of                 responsible person, or partner whose Social-Security number is provided
title 11, United States Code, specified in this petition.                       Names and Social-Security numbers of all other individuals who prepared
                                                                                or assisted in preparing this document unless the bankruptcy petition
                                                                                preparer is not an individual.
 X
     Signature of Authorized Individual



     Printed Name of Authorized Individual
                                                                                 If more than one person prepared this document, attach additional
                                                                                 sheets conforming to the appropriate official form for each person.
     Title of Authorized Individual                                              A bankruptcy petition preparer’s failure to comply with the provisions of title
                                                                                 11 and the Federal Rules of Bankruptcy Procedure may result in fines or
       7/13/2010                                                                 imprisonment or both. 11 U.S.C. § 110; 18 U.S.C. § 156.
     Date
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In re George Kendall Hightower                                                                   ,                Case No.
                        Debtor(s)                                                                                                              (if known)


                                               SCHEDULE A-REAL PROPERTY

Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a
cotenant community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers
exercisable for the debtor’s own benefit. If the debtor is married, state whether the husband, wife, both, or the marital community own the property
by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.” If the debtor holds no interest in real property, write
“None” under “Description and Location of Property.”
Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G-Executory
Contracts and Unexpired Leases.

If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity
claims to hold a secured interest in the property, write “None” in the column labeled “Amount of Secured Claim.”

If the debtor is an individual or if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property
Claimed as Exempt.

                                                                                                                      Current
              Description and Location of Property                         Nature of Debtor's                                              Amount of
                                                                                                                       Value
                                                                          Interest in Property                   of Debtor's Interest,
                                                                                                                                         Secured Claim
                                                                                                   Husband--H    in Property Without
                                                                                                      Wife--W       Deducting any
                                                                                                      Joint--J    Secured Claim or
                                                                                                 Community--C         Exemption


None                                                                                                                                               None




No continuation sheets attached                                                            TOTAL $                             0.00
                                                                    (Report also on Summary of Schedules.)
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In re George Kendall Hightower                                                                            ,                  Case No.
                         Debtor(s)                                                                                                                               (if known)


                                                       SCHEDULE B-PERSONAL PROPERTY
Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories,
place an “x” in the appropriate position in the column labeled “None.” If additional space is needed in any category, attach a separate sheet properly
identified with the case name, case number, and the number of the category. If the debtor is married, state whether the husband, wife, both, or the
marital community own the property by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.” If the debtor is an
individual or a joint petition is filed, state the amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.

Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G-Executory Contracts
and Unexpired Leases.
If the property is being held for the debtor by someone else, state that person’s name and address under “Description and Location of Property.” If
the property is being held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as
"A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

                                                                                                                                                      Current
               Type of Property                    N            Description and Location of Property                                                   Value
                                                                                                                                                of Debtor's Interest,
                                                   o                                                                        Husband--H          in Property Without
                                                                                                                                Wife--W            Deducting any
                                                   n                                                                                             Secured Claim or
                                                                                                                               Joint--J
                                                   e                                                                      Community--C               Exemption


1. Cash on hand.                                       Cash on hand                                                                                       $ 250.00
                                                       Location: In debtor's possession


2. Checking, savings or other financial                Sherwin Williams Credit Union Checking Acct                                                        $ 300.00
   accounts, certificates of deposit, or shares
   in banks, savings and loan, thrift, building        Location: In debtor's possession
   and loan, and homestead associations, or
   credit unions, brokerage houses, or
   cooperatives.

3. Security deposits with public utilities,        X
   telephone companies, landlords, and
   others.
4. Household goods and furnishings,                    Household goods and furnishings                                                                $ 1,000.00
   including audio, video, and computer
   equipment.                                          Location: In debtor's possession


5. Books, pictures and other art objects,          X
   antiques, stamp, coin, record, tape,
   compact disc, and other collections or
   collectibles.

6. Wearing apparel.                                    Necessary wearing apparel                                                                          $ 750.00
                                                       Location: In debtor's possession


7. Furs and jewelry.                               X

8. Firearms and sports, photographic, and          X
   other hobby equipment.

9. Interests in insurance policies. Name           X
   insurance company of each policy and
   itemize surrender or refund value of each.
10. Annuities. Itemize and name each issuer.       X

11. Interest in an education IRA as                X
    defined in 26 U.S.C. 530(b)(1) or under
    a qualified State tuition plan as defined in
    26 U.S.C. 529(b)(1). Give particulars.
    (File separately the record(s) of any such
    interest(s). 11 U.S.C. 521(c).)




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In re George Kendall Hightower                                                                         ,     Case No.
                         Debtor(s)                                                                                                          (if known)


                                                       SCHEDULE B-PERSONAL PROPERTY
                                                                         (Continuation Sheet)

                                                                                                                                Current
               Type of Property                    N            Description and Location of Property                             Value
                                                                                                                           of Debtor's Interest,
                                                   o                                                         Husband--H    in Property Without
                                                                                                                 Wife--W      Deducting any
                                                   n                                                                        Secured Claim or
                                                                                                                Joint--J
                                                   e                                                       Community--C         Exemption

12. Interests in IRA, ERISA, Keogh, or other       X
    pension or profit sharing plans. Give
    particulars.
13. Stock and interests in incorporated and        X
    unincorporated businesses. Itemize.

14. Interests in partnerships or joint ventures.   X
    Itemize.

15. Government and corporate bonds and             X
    other negotiable and non-negotiable
    instruments.
16. Accounts Receivable.                           X

17. Alimony, maintenance, support, and             X
    property settlements to which the debtor
    is or may be entitled. Give particulars.
18. Other liquidated debts owed to debtor          X
    including tax refunds. Give particulars.

19. Equitable or future interests, life estates,   X
    and rights or powers exercisable for the
    benefit of the debtor other than those
    listed in Schedule of Real Property.

20. Contingent and non-contingent interests        X
    in estate of a decedent, death benefit
    plan, life insurance policy, or trust.
21. Other contingent and unliquidated claims       X
    of every nature, including tax refunds,
    counterclaims of the debtor, and rights to
    setoff claims. Give estimated value of
    each.
22. Patents, copyrights, and other intellectual    X
    property. Give particulars.

23. Licenses, franchises, and other general        X
    intangibles. Give particulars.

24. Customer lists or other compilations           X
    containing personally identifiable
    information (as described in 11 U.S.C.
    101(41A)) provided to the debtor by
    individuals in connection with obtaining
    a product or service from the debtor
    primarily for personal, family, or
    household purposes.
25. Automobiles, trucks, trailers and other            2002 Chevy Avalanche                                                      $ 5,000.00
    vehicles and accessories.
                                                       Location: In debtor's possession


26. Boats, motors, and accessories.                X

27. Aircraft and accessories.                      X

28. Office equipment, furnishings, and             X
    supplies.




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In re George Kendall Hightower                                                                    ,              Case No.
                         Debtor(s)                                                                                                                  (if known)


                                                  SCHEDULE B-PERSONAL PROPERTY
                                                                    (Continuation Sheet)

                                                                                                                                        Current
                 Type of Property             N            Description and Location of Property                                          Value
                                                                                                                                   of Debtor's Interest,
                                              o                                                                  Husband--H        in Property Without
                                                                                                                     Wife--W          Deducting any
                                              n                                                                                     Secured Claim or
                                                                                                                    Joint--J
                                              e                                                                Community--C             Exemption

29. Machinery, fixtures, equipment and        X
    supplies used in business.

30. Inventory.                                X

31. Animals.                                  X

32. Crops - growing or harvested.             X
    Give particulars.

33. Farming equipment and implements.         X

34. Farm supplies, chemicals, and feed.       X

35. Other personal property of any kind not       Pension benefits                                                                             Unknown
    already listed. Itemize.




Page       3      of   3                                                                                    Total                          $ 7,300.00
                                                                                                                (Report total also on Summary of Schedules.)
                                                                                                      Include amounts from any continuation sheets attached.
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In re
        George Kendall Hightower                                                               ,                  Case No.
                          Debtor(s)                                                                                                                (if known)


                                    SCHEDULE C-PROPERTY CLAIMED AS EXEMPT

Debtor claims the exemptions to which debtor is entitled under:          Check if debtor claims a homestead exemption that exceeds $146,450.*
(Check one box)
   11 U.S.C. § 522(b) (2)
   11 U.S.C. § 522(b) (3)




                                                                     Specify Law                               Value of                  Current
             Description of Property                                Providing each                             Claimed              Value of Property
                                                                      Exemption                               Exemption             Without Deducting
                                                                                                                                       Exemptions


Cash on hand                                        735 ILCS 5/12-1001(b)                                          $ 250.00                     $ 250.00

Sherwin Williams Credit Union                       735 ILCS 5/12-1001(b)                                          $ 300.00                     $ 300.00
Checking Acct

Household goods and                                 735 ILCS 5/12-1001(b)                                       $ 1,000.00                $ 1,000.00
furnishings

Necessary wearing apparel                           735 ILCS 5/12-1001(a)                                          $ 750.00                     $ 750.00

2002 Chevy Avalanche                                735 ILCS 5/12-1001(c)                                             $ 0.00              $ 5,000.00

Pension benefits                                    735 ILCS 5/12-1006                                                $ 0.00                     Unknown




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* Amount subject to adjustment on 4/1/13, and every three years thereafter with respect to cases commenced on or after the date of adjustment.
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B6D (Official Form 6D) (12/07)



In re George Kendall Hightower                                                                      ,                                    Case No.
                           Debtor(s)                                                                                                                                             (if known)

                            SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS

          State the name, mailing address, including zip code, and last four digits of any account number of all entities holding
claims secured by property of the debtor as of the date of filing of the petition. The complete account number of any account the
debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do so. List
creditors holding all types of secured interests such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust,
and other security interests.
          List creditors in alphabetical order to the extent practicable. If a minor child is the creditor, state the child's initials and the
name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the
child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). If all secured creditors will not fit on this page, use the
continuation sheet provided.
          If any entity other than a spouse in a joint case may be jointly liable on a claim, place an “X” in the column labeled
“Codebtor,” include the entity on the appropriate schedule of creditors, and complete Schedule H – Codebtors. If a joint petition is
filed, state whether the husband, wife, both of them, or the marital community may be liable on each claim by placing an “H,” “W,”
“J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.”
          If the claim is contingent, place an “X” in the column labeled “Contingent.” If the claim is unliquidated, place an “X” in the
column labeled “Unliquidated.” If the claim is disputed, place an “X” in the column labeled “Disputed.” (You may need to place an
“X” in more than one of these three columns.)
          Total the columns labeled “Amount of Claim Without Deducting Value of Collateral” and “Unsecured Portion, if Any” in
the boxes labeled “Total(s)” on the last sheet of the completed schedule. Report the total from the column labeled “Amount of
Claim Without Deducting Value of Collateral” also on the Summary of Schedules and, if the debtor is an individual with primarily
consumer debts, report the total from the column labeled “Unsecured Portion, if Any” on the Statistical Summary of Certain

   Check this box if debtor has no creditors holding secured claims to report on this Schedule D.


                Creditor's Name and                           Date Claim was Incurred, Nature                                         Amount of Claim                   Unsecured
                  Mailing Address                             of Lien, and Description and Market                                           Without                   Portion, If Any
                                                                                                                    Unliquidated


              Including ZIP Code and
                                                                                                                    Contingent




                                                              Value of Property Subject to Lien
                                                  Co-Debtor




                                                                                                                                      Deducting Value
                                                                                                                    Disputed


                  Account Number
              (See Instructions Above.)                       H--Husband                                                                 of Collateral
                                                              W--Wife
                                                              J--Joint
                                                              C--Community
Account No:
        8719                                                                                                                                $ 9,441.00                     $ 4,441.00
Creditor # : 1                                                  2002 Chevy Avalanche
Wells Fargo
PO Box 29704
Phoenix AZ 85038

                                                                 Value:   $ 5,000.00
Account No:




                                                                 Value:
Account No:




                                                                 Value:

No continuation sheets attached                                                                                Subtotal $                   $ 9,441.00                     $ 4,441.00
                                                                                                            (Total of this page)
                                                                                                                     Total $                $ 9,441.00                     $ 4,441.00
                                                                                                        (Use only on last page)
                                                                                                                                   (Report also on Summary of   (If applicable, report also on
                                                                                                                                   Schedules.)                  Statistical Summary of
                                                                                                                                                                Certain Liabilities and
                                                                                                                                                                Related Data)
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In re George Kendall Hightower                                                                           ,                             Case No.
                           Debtor(s)                                                                                                                        (if known)
               SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS

         A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of
unsecured claims entitled to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address,
including zip code, and last four digits of the account number, if any, of all entities holding priority claims against the debtor or the property of the
debtor, as of the date of the filing of the petition. Use a separate continuation sheet for each type of priority and label each with the type of priority.

       The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the
debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as
"A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on
the appropriate schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether the husband, wife, both of them
or the marital community may be liable on each claim by placing an "H", "W", "J", or "C" in the column labeled "Husband, Wife, Joint, or Community." If
the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If
the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three columns.)

       Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this Schedule E
in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.

        Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts
entitled to priority listed on this Schedule E in the box labeled “Totals” on the last sheet of the completed schedule. Individual debtors with primarily
consumer debts report this total also on the Statistical Summary of Certain Liabilities and Related Data.

         Report the total of amounts NOT entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all
amounts not entitled to priority listed on this Schedule E in the box labeled "Total" on the last sheet of the completed schedule. Individual debtors with
primarily consumer debts report this total also on the Statistical Summary of Certain Liabilities and Related Data.

     Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

TYPES OF PRIORITY CLAIMS                (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)

     Domestic Support Obligations
     Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian,
     or responsible relative of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent
     provided in 11 U.S.C. § 507(a)(1).

     Extensions of credit in an involuntary case
     Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of
     the appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(3).

     Wages, salaries, and commissions
     Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to
     qualifying independent sales representatives up to $11,725* per person earned within 180 days immediately preceding the filing of the original
     petition, or the cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

     Contributions to employee benefit plans
     Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the
     cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).

     Certain farmers and fishermen
     Claims of certain farmers and fishermen, up to $5,775* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).

     Deposits by individuals
     Claims of individuals up to $2,600* for deposits for the purchase, lease, or rental of property or services for personal, family, or household
     use, that were not delivered or provided. 11 U.S.C. § 507(a)(7).

     Taxes and Certain Other Debts Owed to Governmental Units
     Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).

     Commitments to Maintain the Capital of an Insured Depository Institution
     Claims based on commitments to FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors of
     the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C. §
     507(a)(9).
     Claims for Death or Personal Injury While Debtor Was Intoxicated
     Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using
     alcohol, a drug, or another substance. 11 U.S.C. § 507(a)(10).
  * Amounts are subject to adjustment on 4/01/13, and every three years thereafter with respect to cases commenced on or after the date of adjustment.

                                                                        No continuation sheets attached
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In re George Kendall Hightower                                                                                    ,                                   Case No.
                           Debtor(s)                                                                                                                                                                      (if known)
          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
         State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without
priority against the debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the
debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a
creditor, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian."
Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). Do not include claims listed in Schedules D and E. If all
creditors will not fit on this page, use the continuation sheet provided.

      If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity
on the appropriate schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of
them, or the marital community may be liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or
Community."

         If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled
"Unliquidated." If the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three
columns.)

       Report total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedules. Report this total also on
   Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.


         Creditor's Name, Mailing Address                                    Date Claim was Incurred,                                                                                           Amount of Claim
                                                                             and Consideration for Claim.




                                                                                                                                                                      Unliquidated
                                                        Co-Debtor




                  including Zip Code,




                                                                                                                                                       Contingent
                                                                              If Claim is Subject to Setoff, so State.




                                                                                                                                                                                     Disputed
                 And Account Number
                                                                    H--Husband
                 (See instructions above.)                          W--Wife
                                                                    J--Joint
                                                                    C--Community
          4534
Account No:                                                                                                                                                                                           $ 1,538.00
Creditor # : 1                                                          Miscellaneous Charges
Best Buy/HSBC
PO Box 15524
Wilmington DE 19850


          0205
Account No:                                                                                                                                                                                           $ 1,585.00
Creditor # : 2                                                          Miscellaneous Charges
Carson Pirie Scott/HSBC
PO Box 5253
Carol Stream IL 60197


          0338
Account No:                                                                                                                                                                                           $ 2,047.00
Creditor # : 3                                                          Miscellaneous Charges
Chase/Best Buy
PO Box 15298
Wilmington DE 19850


          6057
Account No:                                                                                                                                                                                          $ 11,176.00
Creditor # : 4                                                          Miscellaneous Charges
Discover
PO Box 15316
Wilmington DE 19850



     1 continuation sheets attached                                                                                                                 Subtotal $                                       $ 16,346.00
                                                                                                                                                                    Total $
                                                                               (Use only on last page of the com pleted Schedule F. Report also on Sum m ary of
                                                                       Schedules and, if applicable, on the Statistical Sum m ary of Certain Liabilities and Related
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In re George Kendall Hightower                                                                                    ,                                   Case No.
                           Debtor(s)                                                                                                                                                                      (if known)
          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)


         Creditor's Name, Mailing Address                                    Date Claim was Incurred,                                                                                           Amount of Claim
                                                                             and Consideration for Claim.




                                                                                                                                                                      Unliquidated
                                                        Co-Debtor
                  including Zip Code,




                                                                                                                                                       Contingent
                                                                              If Claim is Subject to Setoff, so State.




                                                                                                                                                                                     Disputed
                 And Account Number
                                                                    H--Husband
                 (See instructions above.)                          W--Wife
                                                                    J--Joint
                                                                    C--Community
          8616
Account No:                                                                                                                                                                                          $ 22,294.00
Creditor # : 5                                                          Miscellaneous Charges
HSBC Bank
PO Box 5253
Carol Stream IL 60197


          2799
Account No:                                                                                                                                                                                           $ 2,742.00
Creditor # : 6                                                          Miscellaneous Charges
Sears/Citibank
PO Box 6189
Sioux Falls SD 57117


Account No:




Account No:




Account No:




Account No:




Sheet No.      1 of        1 continuation sheets attached to Schedule of                                                                            Subtotal $                                       $ 25,036.00
Creditors Holding Unsecured Nonpriority Claims                                                                                                                      Total $
                                                                               (Use only on last page of the com pleted Schedule F. Report also on Sum m ary of                                      $ 41,382.00
                                                                       Schedules and, if applicable, on the Statistical Sum m ary of Certain Liabilities and Related
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In re George Kendall Hightower                                                                                 / Debtor             Case No.
                                                                                                                                                                        (if known)


                  SCHEDULE G-EXECUTORY CONTRACTS AND UNEXPIRED LEASES

Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests. State the nature of
debtor's interests in contract, i.e., "Purchaser," "Agent," etc. State whether debtor is the lessor or lessee of a lease. Provide the names and complete mailing
addresses of all other parties to each lease or contract described. If a minor child is a party to one of the leases or contracts, state the child's initials and the
name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See,
11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).



   Check this box if the debtor has no executory contracts or unexpired leases.

               Name and Mailing Address,                                                        Description of Contract or Lease and
                 Including Zip Code, of                                                              Nature of Debtor's Interest.
                 Other Parties to Lease                                                State whether Lease is for Nonresidential Real Property.
                      or Contract.                                                      State Contract Number of any Government Contract.




                                                                                                                                                         Page      1 of          1
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In re George Kendall Hightower                                                                / Debtor         Case No.
                                                                                                                                            (if known)


                                                    SCHEDULE H-CODEBTORS

Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed by the
debtor in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state,
commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or
Wisconsin) within the eight year period immediately preeceding the commencement of the case, identify the name of the debtors spouse and of
any former spouse who resides or resided with the debtor in the community property state, commonwealth, or territory. Include all names used by
the nondebtor spouse during the eight years immediately preceding the commencement of this case. If a minor child is a codebtor or a creditor,
state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
   Check this box if the debtor has no codebtors.

                        Name and Address of Codebtor                                             Name and Address of Creditor




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In re George Kendall Hightower                                                                            ,                    Case No.
                          Debtor(s)                                                                                                                       (if known)


                          SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
The column labeled “Spouse” must be completed in all cases filed by joint debtors and by every married debtor, whether or not a joint petition is
filed, unless the spouses are separated and a joint petition is not filed. Do not state the name of any minor child. The average monthly income
calculated on this form may differ from the current monthly income calculated on Form 22A, 22B, or 22C.
   Debtor's Marital                                                                  DEPENDENTS OF DEBTOR AND SPOUSE
     Status:                       RELATIONSHIP(S):                                                                                AGE(S):
       Single



  EMPLOYMENT:                                                   DEBTOR                                                                       SPOUSE

  Occupation                     bus operator
  Name of Employer               CTA
  How Long Employed              16 yrs
  Address of Employer            567 W Lake Street
                                 Chicago IL 60661
  INCOME: (Estimate of average or projected monthly income at time case filed)                                            DEBTOR                             SPOUSE
  1. Monthly gross wages, salary, and commissions (Prorate if not paid monthly)                            $                       4,862.00 $                              0.00
  2. Estimate monthly overtime                                                                             $                           0.00 $                              0.00
  3. SUBTOTAL                                                                                              $                       4,862.00 $                              0.00
  4. LESS PAYROLL DEDUCTIONS
      a. Payroll taxes and social security                                                                 $                       1,096.00       $                        0.00
      b. Insurance                                                                                         $                         167.00       $                        0.00
      c. Union dues                                                                                        $                          85.00       $                        0.00
      d. Other (Specify): Pension                                                                          $                         394.00       $                        0.00
  5. SUBTOTAL OF PAYROLL DEDUCTIONS                                                                        $                       1,742.00 $                              0.00
  6. TOTAL NET MONTHLY TAKE HOME PAY                                                                       $                       3,120.00       $                        0.00
  7. Regular income from operation of business or profession or farm (attach detailed statement)           $                           0.00       $                        0.00
  8. Income from real property                                                                             $                           0.00       $                        0.00
  9. Interest and dividends                                                                                $                           0.00       $                        0.00
  10. Alimony, maintenance or support payments payable to the debtor for the debtor's use or that          $                           0.00       $                        0.00
  of dependents listed above.
  11. Social security or government assistance
    (Specify):                                                                                             $                            0.00 $                             0.00
  12. Pension or retirement income                                                                         $                            0.00 $                             0.00
  13. Other monthly income
    (Specify):                                                                                             $                            0.00 $                             0.00

  14. SUBTOTAL OF LINES 7 THROUGH 13                                                                          $                        0.00 $                              0.00
  15. AVERAGE MONTHLY INCOME                 (Add amounts shown on lines 6 and 14)                            $                    3,120.00 $                              0.00
  16. COMBINED AVERAGE MONTHLY INCOME:                 (Combine column totals                                                  $                  3,120.00
    from line 15; if there is only one debtor repeat total reported on line 15)
                                                                                                                  (Report also on Summary of Schedules and, if applicable, on
                                                                                                                   Statistical Summary of Certain Liabilities and Related Data)


  17. Describe any increase or decrease in income reasonably anticipated to occur within the year following the filing of this document:




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In re George Kendall Hightower                                                                                ,                           Case No.
                            Debtor(s)                                                                                                                                        (if known)

                          SCHEDULE J-CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR

        Complete this schedule by estimating the average or projected monthly expenses of the debtor and the debtor's family. Prorate any payments
made bi-weekly, quarterly, semi-annually, or annually to show monthly rate. The average monthly expenses calculated on this form may differ from
the deductions from income allowed on Form 22 A or 22C.
    Check this box if a joint petition is filed and debtor's spouse maintains a separate household. Complete a separate schedule of expenditures labeled
    "Spouse."

 1. Rent or home mortgage payment (include lot rented for mobile home)                                                                                   $                     900.00
                                                                             .....................................................................................................................
       a. Are real estate taxes included?        Yes         No
       b. Is property insurance included?        Yes         No
 2. Utilities: a. Electricity and heating fuel                                                                                                            $                    200.00
                                                ..................................................................................................................................................
                b. Water and sewer                                                                                                                        $                        0.00
                c. Telephone       ..............................................................................................................................................................
                                                                                                                                                          $                    150.00
                d. Other      Cable/Internet                                                                                                              $                    100.00
                  Other
                             ...................................................................................................................................................................
                                                                                                                                                          $                        0.00

 3. Home maintenance (repairs and upkeep)                                                                                                                 $                         0.00
                                                   ..............................................................................................................................................
 4. Food                                                                                                                                             $                     430.00
 5. Clothing                                                                                                                                         $                     100.00
             .................................................................................................................................................................................
 6. Laundry and dry cleaning                                                                                                                         $                      75.00
 7. Medical and dental expenses                                                                                                                           $                     200.00
                                         ........................................................................................................................................................
 8. Transportation (not including car payments)                                                                                                           $                     430.00
 9. Recreation, clubs and entertainment, newspapers, magazines, etc.                                                                                     $                       50.00
                                                                             ..................................................................................................................
 10. Charitable contributions                                                                                                                             $                        0.00
 11. Insurance (not deducted from wages or included in home mortgage payments)
              a. Homeowner's or renter's                                                                                                                  $                         0.00
                                             ....................................................................................................................................................
              b. Life                                                                                                                                     $                        0.00
              c. Health                                                                                                                                  $                         0.00
                           ......................................................................................................................................................................
              d. Auto                                                                                                                                 $                     100.00
              e. Other                                                                                                                                $                         0.00
                      ........................................................................................................................................................................
                Other                                                                                                                                 $                         0.00


  12. Taxes (not deducted from wages or included in home mortgage)
  (Specify)                                                                                                                                               $                        0.00
  13. Installment payments: (In chapter 11, 12, and 13 cases, do not list payments to be included in the plan)
           a. Auto                                                                                                                                        $                     380.00
                          ........................................................................................................................................................................
           b. Other:                                                                                                                                      $                        0.00
           c. Other:                                                                                                                                      $                         0.00
                          ........................................................................................................................................................................

  14. Alimony, maintenance, and support paid to others                                                                                                    $                        0.00
                                                              ..................................................................................................................................
  15. Payments for support of additional dependents not living at your home                                                                              $                        0.00
  16. Regular expenses from operation of business, profession, or farm (attach detailed statement)                                                       $                        0.00
                                                                                                         ....................................................................................
  17. Other:      Vehicle Maintenance                                                                                                                    $                    100.00
     Other:       Supplies - household                                                                                                                                          75.00
                  ...............................................................................................................................................................................
                                                                                                                                                         $
                                                                                                                                                                                   0.00
  18. AVERAGE MONTHLY EXPENSES Total lines 1-17. Report also on Summary of Schedules                                                                      $                 3,290.00
     and, if applicable, on the Statistical Summary of Certain Liabilities and Related Data.)
  19. Describe any increase or decrease in expenditures reasonably anticipated to occur within the year following the filing of this document:


  20. STATEMENT OF MONTHLY NET INCOME
      a. Average monthly income from Line 16 of Schedule I                                                                                                $                 3,120.00
      b. Average monthly expenses from Line 18 above                                                                                                      $                 3,290.00
      c. Monthly net income (a. minus b.)                                                                                                                 $                 (170.00)
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                                            UNITED STATES BANKRUPTCY COURT
                                              NORTHERN DISTRICT OF ILLINOIS

   In re George Kendall Hightower                                                                                            Case No.
                                                                                                                             Chapter 7


                                                                                                                / Debtor




                                                          SUMMARY OF SCHEDULES
Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A, B, D, E, F, I, and J in the
boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor's assets. Add the amounts of all claims from Schedules D, E, and
F to determine the total amount of the debtor's liabilities. Individual debtors must also complete the "Statistical Summary of Certain Liabilities and Related Data"if they
file a case under chapter 7, 11, or 13.




                                          Attached           No. of
       NAME OF SCHEDULE                   (Yes/No)           Sheets                  ASSETS                         LIABILITIES                        OTHER

 A-Real Property
                                             Yes                1          $                     0.00

 B-Personal Property
                                             Yes                3          $              7,300.00

 C-Property Claimed as
   Exempt
                                             Yes                1

 D-Creditors Holding Secured
   Claims
                                             Yes                1                                           $              9,441.00

 E-Creditors Holding
   Unsecured Priority Claims                 Yes                1                                           $                     0.00
   (Total of Claims on Schedule E)

 F-Creditors Holding
   Unsecured Nonpriority Claims
                                             Yes                2                                           $              41,382.00

 G-Executory Contracts and
   Unexpired Leases
                                             Yes                1

 H-Codebtors
                                             Yes                1

 I-Current Income of Individual
   Debtor(s)
                                             Yes                1                                                                            $             3,120.00

 J-Current Expenditures of
   Individual Debtor(s)
                                             Yes                1                                                                            $             3,290.00

                                  TOTAL                       13            $              7,300.00          $             50,823.00
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                                               UNITED STATES BANKRUPTCY COURT
                                                NORTHERN DISTRICT OF ILLINOIS

   In re George Kendall Hightower                                                                                                Case No.
                                                                                                                                 Chapter 7



                                                                                                               / Debtor



      STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C § 159)
 If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C. § 101(8), filing a case under
 chapter 7, 11, or 13, you must report all information requested below.


     Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to report any information here.



 This information is for statistical purposes only under 28 U.S.C. § 159.

 Summarize the following types of liabilities, as reported in the Schedules, and total them.

   Type of Liability                                                                                              Amount
   Domestic Support Obligations (from Schedule E)                                                                 $       0.00
   Taxes and Certain Other Debts Owed to Governmental Units (from Schedule E)                                     $       0.00
   Claims for Death or Personal Injury While Debtor Was Intoxicated (from Schedule E) (whether
   disputed or undisputed)                                                                                        $       0.00
   Student Loan Obligations (from Schedule F)                                                                     $       0.00
   Domestic Support, Separation Agreement, and Divorce Decree Obligations Not Reported on                         $       0.00
   Schedule E
   Obligations to Pension or Profit-Sharing, and Other Similar Obligations (from Schedule F)                      $       0.00
                                                                                                     TOTAL        $       0.00

 State the following:


   Average Income (from Schedule I, Line 16)                                                                          $   3,120.00
   Average Expenses (from Schedule J, Line 18)                                                                        $   3,290.00
   Current Monthly Income (from Form 22A Line 12; OR, Form 22B Line 11; OR, Form 22C Line 20)                         $   4,862.00
 State the following:


   1. Total from Schedule D, "UNSECURED PORTION, IF ANY" column                                                                                  $   4,441.00
   2. Total from Schedule E, "AMOUNT ENTITLED TO PRIORITY" column                                                     $   0.00
   3. Total from Schedule E, "AMOUNT NOT ENTITLED TO PRIORITY, IF ANY" column                                                                    $   0.00
   4. Total from Schedule F                                                                                                                      $   41,382.00
   5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                                                                                  $   45,823.00
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In re George Kendall Hightower                                                                                            Case No.
                                                         Debtor                                                                                               (if known)




                                DECLARATION CONCERNING DEBTOR'S SCHEDULES

                                DECLARATION UNDER PENALTY OF PERJURY BY AN INDIVIDUAL DEBTOR

      I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of      14     sheets, and that they are true and
      correct to the best of my knowledge, information and belief.



      Date:   7/13/2010                                       Signature   /s/ George Kendall Hightower
                                                                          George Kendall Hightower




                                                                     [If joint case, both spouses must sign.]



     Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both. 18 U.S.C. §§ 152 and 3571.
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                                            UNITED STATES BANKRUPTCY COURT
                                              NORTHERN DISTRICT OF ILLINOIS


In re: George Kendall Hightower                                                                                       Case No.




                                                           STATEMENT OF FINANCIAL AFFAIRS
           This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which the information for
both spouses is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish information for both spouses whether
or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed. An individual debtor engaged in business as a sole
proprietor, partner, family farmer, or self-employed professional, should provide the information requested on this statement concerning all such
activities as well as the individual's personal affairs. To indicate payments, transfers and the like to minor children, state the child's initials and the
name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not diclose the child's name. See, 11
U.S.C. § 112 and Fed. R. Bankr. P. 1007(m).

          Questions 1-18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also must complete
Questions 19-25. If the answer to an applicable question is "None," mark the box labeled "None." If additional space is needed for the answer to
any question, use and attach a separate sheet properly identified with the case name, case number (if known), and the number of the question.



                                                                           DEFINITIONS
          "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An individual debtor is "in
business" for the purpose of this form if the debtor is or has been, within the six years immediately preceding the filing of this bankruptcy case,
any of the following: an officer, director, managing executive, or owner of 5 percent or more of the voting or equity securities of a corporation; a
partner, other than a limited partner, of a partnership; a sole proprietor or self-employed full-time or part-time. An individual debtor my also be "in
business" for the purpose of this form if the debtor engages in a trade, business, or other activity, other than as an employee, to supplement
income from the debtor's primary employment.

           "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and their relatives;
corporations of which the debtor is an officer, director, or person in control; officers, directors, and any owner of 5 percent or more of the voting
or equity securities of a corporation debtor and their relatives; affiliates of the debtor and insiders of such affiliates; any managing agent of the
debtor. 11 U.S.C. §101.




         1. Income from employment or operation of business
 None     State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's business, including part
          -time activities either as an employee or in independent trade or business, from the beginning of this calendar year to the date this case was commenced.
          State also the gross amounts received during the two years immediately preceding this calendar year. (A debtor that maintains, or has maintained, financial
          records on the basis of a fiscal rather than a calendar year may report fiscal year income. Identify the beginning and ending dates of the debtor's fiscal
          year.) If a joint petition is filed, state income for each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income of both
          spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

AMOUNT                                                   SOURCE

Year to date: $4,862/month                               Employment;
Year 2009: $39,342                                       Employment;
Year 2008: $37,672                                       Employment


         2. Income other than from employment or operation of business
 None     State the amount of income received by the debtor other than from employment, trade, profession, operation of the debtor's business during the two years
          immediately preceding the commencement of this case. Give particulars. If a joint petition is filed, state income for each spouse separately. (Married
          debtors filing under chapter 12 or chapter 13 must state income for each spouse whether or not a joint petition is filed, unless the spouses are separated and
          a joint petition is not filed.)




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        3. Payments to creditors
None    Complete a. or b., as appropriate, and c.

        a. Individual or joint debtor(s) with primarily consumer debts: List all payments on loans, installment purchases of goods or services, and other debts to any
        creditor, made within 90 days immediately preceding the commencement of this case unless the aggregate value of all property that constitutes or is
        affected by such transfer is less than $600. Indicate with an asterisk (*) any payments that were made to a creditor on account of a domestic support
        obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit budgeting and creditor counseling agency. (Married debtors
        filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or not a joint petition is filed, unless the spouses are
        separated and a joint petition is not filed.)




None    b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within 90 days immediately preceding the
        commencement of this case unless the aggregate value of all property that constitutes or is affected by such transfer is less than $5,850*. If the debtor is
        an individual, indicate with an asterisk (*) any payments that were made to a creditor on account of a domestic support obligation or as part of an alternative
        repayment schedule under a plan by an approved nonprofit budgeting and creditor counseling agency. (Married debtors filingunder chapter 12 or chapter 13
        must include payments and other transfers by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
        petition is not filed.)


        * Amounts are subject to adjustment on 4/01/13, and every three years thereafter with respect to cases commenced on or after the date of adjustment.




None    c. All debtors: List all payments made within one year immediately preceding the commencement of this case to or for the benefit of creditors who are or
        were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or not a joint petition is filed,
        unless the spouses are separated and a joint petition is not filed.)




        4. Suits and administrative proceedings, executions, garnishments and attachments
None    a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding the filing of this bankruptcy case.
        (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or not a joint petition is filed, unless
        the spouses are separated and a joint petition is not filed.)




None    b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one year immediately preceding the
        commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or both spouses
        whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)




        5. Repossessions, foreclosures and returns
None    List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or returned to the seller,
        within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information
        concerning property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)




        6. Assignments and receiverships
None    a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the commencement of this case. (Married
        debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a joint petition is filed, unless the
        spouses are separated and a joint petition is not filed.)




                                                                                                                        Statement of Affairs - Page 2
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None    b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year immediately preceding the
        commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or both spouses
        whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)




        7. Gifts
None    List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except ordinary and usual gifts to
        family members aggregating less than $200 in value per individual family member and charitable contributions aggregating less than $100 per recipient.
        (Married debtors filing under chapter 12 or chapter 13 must include gifts or contributions by either or both spouses whether or not a joint petition is filed,
        unless the spouses are separated and a joint petition is not filed.)




        8. Losses
None    List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement of this case or since the
        commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both spouses whether or not a joint
        petition is filed, unless the spouses are separated and a joint petition is not filed.)




        9. Payments related to debt counseling or bankruptcy
None    List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation concerning debt
        consolidation, relief under the bankruptcy law or preparation of a petition in bankruptcy within one year immediately preceding the commencement of
         this case.

                                                        DATE OF PAYMENT,                   AMOUNT OF MONEY OR
NAME AND ADDRESS OF PAYEE                               NAME OF PAYER IF OTHER THAN DEBTOR DESCRIPTION AND VALUE OF PROPERTY

Joseph J. Cardinal                                      Date of Payment: 6/2010                                      $1150 Attorney Fees
3960 W 95th Street                                      Payor: George Hightower
Floor 2
Evergreen Park, IL 60805


        10. Other transfers
None    a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor, transferred either absolutely
        or as security within two years immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include
        transfers by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)




None    b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case to a self-settled trust or similar device
        of which the debtor is a benificiary.




        11. Closed financial accounts
None    List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or otherwise transferred
        within one year immediately preceding the commencement of this case. Include checking, savings, or other financial accounts, certificates of deposit, or
        other instruments; shares and share accounts held in banks, credit unions, pension funds, cooperatives, associations, brokerage houses and other financial
        institutions. (Married debtors filing under chapter 12 or chapter 13 must include information concerning accounts or instruments held by or for either or both
        spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)




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        12. Safe deposit boxes
None    List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within one year immediately preceding
        the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or depositories of either or both spouses whether
        or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)




        13. Setoffs
None    List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding the commencement of this case.
        (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or not a joint petition is filed, unless
        the spouses are separated and a joint petition is not filed.)




        14. Property held for another person
None    List all property owned by another person that the debtor holds or controls.




        15. Prior address of debtor
None    If the debtor has moved within three years immediately preceding the commencement of this case, list all premises which the debtor occupied during that
        period and vacated prior to the commencement of this case. If a joint petition is filed, report also any separate address of either spouse.




        16. Spouses and Former Spouses
None    If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada,
        New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight years immediately preceding the commencement of the case, identify the name of
        the debtor's spouse and of any former spouse who resides or resided with the debtor in the community property state.




        17. Environmental Information
None    For the purpose of this question, the following definitions apply:

        "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous or toxic substances,
        wastes or material into the air, land, soil, surface water, groundwater, or other medium, including, but not limited to, statutes or regulations regulating the
        cleanup of these substances, wastes, or material.

        "Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly owned or operated by the
        debtor,
        including, but not limited to disposal sites.

        "Hazardous Material" means anything defined as hazardous waste, hazardous substance, toxic substance, hazardous material, pollutant, or contaminant or
        similar termunder an Environmental Law:

        a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be liable or potentially liable
        under or in violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and, if known, the Environmental Law:




None    b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous Material. Indicate the
        governmental unit to which the notice was sent and the date of the notice.




                                                                                                                    Statement of Affairs - Page 4
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None     c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law, with respect to which the debtor is or was a
         party. Indicate the name and address of the governmental unit that is or was a party to the proceeding, and the docket number.




         18. Nature, location and name of business
None     a. If the debtor is an individual, list the names, addresses, taxpayer-identification numbers, nature of the businesses, and beginning and ending dates of all
         businesses in which the debtor was an officer, director, partner, or managing executive of a corporation, partner in a partnership, sole proprietor, or was self
         -employed in a trade, profession, or other activity either full- or part-time within six years immediately preceding the commencement of this case, or in
         which the debtor owned 5 percent or more of the voting or equity securities within six years immediately preceding the commencement of this case

                  If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and ending dates of
         all businesses     in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within six years immediately preceding the
         commencment of this case.

                  If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and ending dates of
         all businesses     in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within six years immediately preceding the
         commencment of this case.




None     b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11 U.S.C. § 101.




[If completed by an individual or individual and spouse]


I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any attachments thereto and that
they are true and correct.



       Date      7/13/2010                           Signature       /s/ George Kendall Hightower
                                                     of Debtor


                                                     Signature
       Date
                                                     of Joint Debtor
                                                     (if any)




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